                                    Exhibit 6C
                     July 22, 2014 K. Orr Deposition Transcript




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      1                    KEVYN ORR, VOLUME 2                            1                     KEVYN ORR, VOLUME 2
      2            IN THE UNITED STATES BANKRUPTCY COURT                  2   STEPHEN C. HACKNEY, ESQ.
      3             FOR THE EASTERN DISTRICT OF MICHIGAN                  3   Kirkland & Ellis, LLP
      4                                                                   4   300 North Lasalle Street
      5                                                                   5   Chicago, Illinois 60654
      6                                                                   6      Appearing on behalf of Syncora.
      7   In Re:                )        Chapter 9                        7
      8                                                                   8
      9   CITY of DETROIT, MICHIGAN, )               Case No. 13-53846    9
     10                                                                  10   JEFFREY BEELAERT, ESQ.
     11               Debtor.       )    Hon. Steven Rhodes              11   Sidley Austin, LLP
     12   ____________________________                                   12   1501 K Street, N.W.
     13                                                                  13   Washington, D.C. 20005
     14                       VOLUME 2                                   14      Appearing on behalf of National Public Financing.
     15                                                                  15
     16        The Videotaped Deposition of KEVYN ORR,                   16
     17        in his personal capacity and as Rule 30(b)(6) witness,    17
     18        Taken at 2 Woodward Avenue,                               18   ERNEST J. ESSAD, JR., ESQ.
     19        Detroit, Michigan,                                        19   Williams, Williams, Rattner & Plunkett, P.C.
     20        Commencing at 9:10 a.m.,                                  20   380 North Old Woodward Avenue, Suite 300
     21        Tuesday, July 22, 2014,                                   21   Birmingham, Michigan 48009
     22        Before Leisa M. Pastor, CSR-3500, RPR, CRR.               22      Appearing on behalf of Financial Guaranty Insurance
     23                                                                  23      Company.
     24                                                                  24
     25                                                                  25

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     2     APPEARANCES:                                                   2   ALFREDO R. PEREZ, ESQ.
     3                                                                    3   Weil, Gotshal & Manges, LLP
     4     GREGORY M. SHUMAKER, ESQ.,                                     4   700 Louisiana Street, Suite 1700
     5     DAN T. MOSS, ESQ.                                              5   Houston, Texas 77002
     6     Jones Day                                                      6      Appearing on behalf of Financial Guaranty Insurance
     7     51 Louisiana Avenue, N.W.                                      7      Company.
     8     Washington, D.C. 20001                                         8
     9        Appearing on behalf of the Debtor.                          9
    10                                                                   10
    11                                                                   11   LISA SCHAPIRA, ESQ.
    12                                                                   12   Chadbourne & Parke, LLP
    13                                                                   13   30 Rockefeller Plaza
    14     ROBERT HERTZBERG, ESQ.                                        14   New York, New York 10112
    15     Pepper Hamilton, LLP                                          15      Appearing on behalf of Assured Guaranty Municipal
    16     4000 Town Center, Suite 1800                                  16      Corporation.
    17     Southfield, Michigan 48075                                    17
    18        Appearing on behalf of Debtor.                             18
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      1                      KEVYN ORR, VOLUME 2                         1                    KEVYN ORR, VOLUME 2
      2        isn't that correct?                                       2      cramdown. We certainly wanted people that were going
      3   A. I believe that's correct.                                   3      to be impacted and severely affected by this process
      4   Q. Now, you understand that one of the complexities of         4      to have some level of buy-in for -- for the future of
      5        the case has been that the retirees are -- are kind of    5      the City and for their interests, I don't want to give
      6        disbursed out there in the world, and as a practical      6      the impression that we were merely looking at it from
      7        matter you've typically been dealing either with          7      a technical perspective, there is a human dimension
      8        retiree associations, retirement trusts, or the           8      here that we were very concerned about, too.
      9        official committee of retirees when it came to            9   Q. But as of the first plan the reason you were so
     10        negotiating plan treatment; is that a fair statement?    10      focused and in terms of saying it was crucial to reach
     11   A. Yes. I think it's a fair statement to say we tried to      11      agreement, at least as we're talking about retirees,
     12      deal with representative organizations as opposed to       12      it was because you knew that you couldn't cram them
     13      individual retirees.                                       13      down at the proposed plan levels, correct?
     14   Q. The general strategy was you deal with the                 14   A. I knew that we could not cram them down at proposed
     15        representative organizations and if you can strike       15      plan levels, but I think there are plenty of
     16        agreements with them, the hope is that they'll then      16      statements out there by me importuning the retirees to
     17        recommend approval of the plan and the retirees will     17      support the plan for a number of other reasons, as
     18        -- will vote consistently with that recommendation,      18      well.
     19        correct?                                                 19   Q. And why couldn't -- why did you believe you couldn't
     20   A. Yes, I think that's fair.                                  20      cram them down at the proposed plan levels in the
     21   Q. Now, as of February 21st, 2014, you had just over          21      first plan?
     22        seven months left on your term; isn't that correct?      22   A. Well, I didn't know if we could get in consultant -- I
     23   A. Yes, I think that's fair.                                  23      won't into discussions we had with counsel, but we
     24   Q. Okay. And you said in the press at the time of the         24      were concerned that we might not be able to meet some
     25        first plan that it was quote/unquote crucial that the    25      of the requirements in the code but also here again,

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      2        City reach an agreement with its creditors, correct?      2      wanted to be sure that we addressed the human
      3   A. Yes, I believe I said that.                                 3      dimension.
      4   Q. And in particular, you were referring to the                4   Q. And you didn't have -- is it -- are you referring to
      5        pensioners, correct?                                      5      the fact that as of the first plan, you didn't even
      6   A. I was referring to everyone.                                6      have an impaired assenting class?
      7   Q. Okay. And you also said at that time: "We really do         7   A. I think it's fair to say that we did not have -- well,
      8        not have time for a lot of acrimony and litigation."      8      when was the date?
      9        Isn't that correct?                                       9   Q. Feb 21, 2014.
     10   A. Yes, I probably said that.                                 10   A. I don't know if that's true because I don't recall the
     11   Q. Okay. Now, you said that it was crucial that the City      11      dates that we may have reached agreements with the
     12        reach agreement with its creditors in part because       12      financial creditors.
     13        time was short on your tenure as emergency manager,      13   Q. And when you're talking about the human dimension,
     14        correct?                                                 14      what are you talking about there?
     15   A. I suppose you could say in part, but it was also that      15   A. Very simply, and I think I've said this before, the --
     16      the City needed to get out of a space that it had been     16      the pensioners are people many of whom are in their
     17      in effectively for almost two years, that we needed to     17      sixties, seventies, and eighties and don't have an
     18      get to revitalization, and I said a bunch of other         18      option. They have worked for the City, most of them
     19      things during that time about how important it was to      19      have done nothing wrong. They are -- the covenant
     20      get out of this space.                                     20      that the City had with its employees and retirees was
     21   Q. And wasn't it also crucial that the retirees agree to      21      that if they perform work for the City that upon their
     22        the first plan you proposed because you knew you         22      retirement they'd be taken care of for the rest of
     23        couldn't cram them down at the proposed pension cut      23      their natural life, that some of this came as quite a
     24        levels if they didn't agree?                             24      shock to them because they had planned their affairs
     25   A. There were other reasons, not just the issue regarding     25      accordingly. Many of them, like my own family members


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      2      or grandmother, wouldn't have options of going back         2      contribution from third parties, meaning the
      3      into the job market to supplement income or make up         3      foundations, the benefactors and others. We were
      4      for some of the cuts and that there were -- there was       4      looking, we had been admonished I believe by the court
      5      a real-world dimension impact to the people that were       5      on several occasions to be compassionate in our
      6      going to be affected by these cuts.                         6      treatment of individuals and retirees. And unlike
      7   Q. Putting aside the human dimension, if you'd had an          7      financial creditors, the GRS and PFRS unlike some
      8        impaired assenting class do you believe that you could    8      financial creditors actually had assets in their
      9        have crammed down the first plan on the pensioners?       9      pension fund, so there was an existing basis by which
     10                MR. SHUMAKER: Object to the form.                10      those assets would allow for a higher rate of recovery
     11   A. Yeah, I don't know, I'd have to consult with my            11      ab initio, that is, from the start, as opposed to the
     12      attorneys.                                                 12      financial creditors to whom we owed money but did not
     13   BY MR. HACKNEY:                                               13      have a cache of money available to pay them.
     14   Q. Okay, and I mean back at the time. Did you believe         14   Q. So there -- let me break down what I heard. You tell
     15        you could or could not?                                  15      me if I got it right.
     16   A. To be honest with you Mr. Hartley (sic), I don't -- I      16   A. Mm-hmm.
     17      don't -- I don't really recall. I don't really recall      17   Q. I heard that the basis for the decision to
     18      that being the crux of the discussion, but it might        18      discriminate in the first plan was in part the
     19      have been true.                                            19      compassion for retirees, but it was also in part the
     20   Q. Okay. You may have thought you could cram them down,       20      fact that there were assets in the retirement systems?
     21        you may have thought you couldn't, you just don't        21   A. Yes.
     22        know?                                                    22   Q. Okay, anything other than those two things?
     23   A. I just don't remember.                                     23   A. No, as I said, there are a number of other factors in
     24   Q. Okay. You previously called me Hartley --                  24      trying to incentivize a workforce, in trying to keep
     25   A. Did I call you Hartley?                                    25      the covenant that the City made, a number of other

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      2   Q. There is something in your brain --                         2      factors, but generally those are the ones that seem to
      3   A. No, I --                                                    3      be driving a sort of the treatment of those classes.
      4   Q. -- that says Hartley when you see me.                       4   Q. Okay, so I heard compassion, the fact that assets
      5   A. This is going to be surprising, I have a friend named       5      exist in the retirement trust, trying to incentivize
      6      Hartley, and he reminds me of you.                          6      City workers. Anything else that justified that level
      7   Q. And he's like a handsome, suave guy?                        7      of discrimination?
      8   A. Let's not get carried away.                                 8   A. There may have been other things that I said in terms
      9   Q. Now, you did understand that the February 21st plan of      9      of the level of different treatment, you call
     10        adjustment still discriminated in favor of retirees as   10      discrimination. That was reported out in the first
     11        compared to COPs holders in terms of their respective    11      plan, but generally speaking, the principal driving
     12        recoveries, correct?                                     12      force was that the retirement systems had assets in
     13   A. Yes, I understand that there were -- there were a lot      13      them and we were trying to bring levels down below to
     14      of reports and the financial community was taking the      14      the predictable funding level verse -- based upon the
     15      position that there was discrimination in the plan.        15      unfunded actuarial liability of those funds. You
     16   Q. But there was objectively discrimination in that first     16      start with a cache of money in those funds that are
     17        plan, correct?                                           17      available conceivably to pay pensions if you are able
     18   A. There was a higher percentage recovery relative to         18      to adjust the payment levels, whereas with financial
     19      some of the financial creditors.                           19      creditors, we didn't have a cache of money available
     20   Q. And you were aware of that discrimination at the time      20      to them. We're paying them out of existing City cash
     21        you proposed that plan, correct?                         21      flow going forward.
     22   A. Yes.                                                       22   Q. But you understand that the amount of assets in the
     23   Q. And what was your basis for the level of                   23      pension systems, the difference between the amount of
     24        discrimination you proposed in the February 21st plan?   24      assets and what is needed to fully fund pensions is
     25   A. Well, I believe at that point, we were looking at some     25      called the UAAL?


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      2        information that you relied upon with respect to this     2      amount of pensions that thousands of pensioners have,
      3        first ground which are assets held in the trust that      3      which have been provided to me by professionals. So
      4        you relied on either financial information from the       4      it's not just summary information, it's actually
      5        trusts about their assets or expert analysis relating     5      sometimes raw data discussions with -- with my
      6        to appropriate discount and other actuarial rates to      6      advisors, including attorneys, as well as discussions
      7        be applied to those assets and liabilities?               7      with representatives including depositions of the --
      8   A. Yes, I relied on things other than my own analysis          8      of the -- some of whom are here today, representatives
      9        from professionals who do this.                           9      of the various funds.
     10   Q. But did I accurately describe kind of the body of          10   Q. The financial data that you relied upon, though, was
     11        information?                                             11      the -- was limited to the size of their pensions,
     12   A. Yeah, you did. Yes, you did.                               12      whether it was aggregate or individual pensions,
     13   Q. Okay. Now, with respect to the human dimension that        13      right?
     14        we talked about, with respect to the classes 10 and      14   A. No.
     15        11, what type of information did you rely upon in        15   Q. You didn't review personal financial information of
     16        connection with that judgment?                           16      any of the retirees, did you?
     17   A. Well, I think some of the information we just              17   A. No, we didn't review -- I didn't review financial
     18        discussed is captured within that, as well as the        18      statements of retirees but I did review reports as
     19        representatives on the art -- on the retiree             19      indexed by account number on the pensions of
     20        committee, the pension boards, as well, as well as       20      individual retirees.
     21        individual meetings with individual employees and        21   Q. Yes.
     22        pensioners who recount their stories in detail, as       22   A. Yeah. I did review things like that.
     23        well as statements made in court by the court itself     23   Q. I'm trying to say that when it came to the financial
     24        as well as others. I listened to the September 19th,     24      information you considered, it related to the size of
     25        2013 tape of the meeting of creditors. I listened to     25      the pensions, correct?

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      2      the blog of last -- was it last Monday or Tuesday's         2   A. As opposed to the personal financial situation of each
      3      objectors meeting, general objectors meeting as well        3      individual pensioner?
      4      as far as the impact, and from time to time obviously       4   Q. Right.
      5      I meet people on the street as well as hear their           5   A. No, I have seen no information like that.
      6      accounts and press reports.                                 6   Q. And you haven't seen that in the aggregate, either,
      7   Q. Is it fair to describe this body of information as,         7      correct?
      8      you know, oral testimonies to you about the personal        8   A. Well, let's be careful with aggregate. I mean, you
      9      hardship people will endure if there are -- if steeper      9      know, 14,000 approximately pensioners live within the
     10      cuts are imposed?                                          10      City of Detroit and/or Wayne County, I believe, so a
     11   A. Yeah, I think it's fair to say oral testimony as well      11      significant percentage live here, and when you look at
     12      as, as I said, the actual analyses that are provided       12      aggregate demographic data, you know, 40 percent of
     13      that, for instance, will tell you that general             13      our residents live at or below the poverty line per
     14      retirement system employees get an average of 19,400       14      capita GDP, all of this, I have reviewed aggregate
     15      approximately in their pension, whereas PFRS may be in     15      data, U.S. Census Bureau --
     16      the neighborhood of the mid-thirties. So it's              16   Q. But this is stuff -- sorry to interrupt you.
     17      actually analyses as well as oral testimony, oral          17   A. Yeah.
     18      statements, written statements, and press reports.         18   Q. This is stuff that relates generally to the
     19   Q. Okay. So you relied on aggregate financial data about      19      population?
     20      the approximate average size of pensions as well as        20   A. Right.
     21      oral testimonies to you about how steeper cuts would       21   Q. It's not specific data to the retirees?
     22      impose personal hardship on the pensioners?                22   A. No, but there was aggregate data that I did review
     23   A. Yeah, the approximate average size -- you know,            23      regarding retirees as a group but not their personal
     24      included in this documentation for instance, I've          24      financial information.
     25      reviewed rolls of information regarding the actual         25   Q. Right, the aggregate data on the retirees was with


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      2      respect to their mean pensions.                             2      holders, you identified was the City's covenant.
      3   A. No, it was also with probable -- it wasn't just             3   A. Yes.
      4      pensions, it also -- there was aggregate data               4   Q. And I took that to mean the fact that the City had a
      5      regarding healthcare, there's aggregate data regarding      5      contractual obligation to pay these people?
      6      an alternative savings fund recoupment. So I know           6   A. Right, and what I'm trying to relay to you is it's not
      7      you're focusing principally on pensions, but I looked       7      just a fact that the City had a contractual
      8      at a number of data as a composite of what the impact       8      obligation; it is the commitment and reliance on that
      9      would be to these pensioners from a human dimension.        9      commitment behind that contractual obligation that
     10   Q. Okay, and evaluating the personal hardship they would      10      various City employees and retirees will come and
     11      suffer?                                                    11      express to me in very real terms what this means to
     12   A. Correct.                                                   12      them.
     13   Q. Okay. And that was -- was that one of the most             13   Q. I see.
     14      important things that drove you in connection with         14   A. And so the covenant is not just a technical document,
     15      this decision? It seems like it's moved you.               15      it is also an expectation, a reliance, a commitment
     16   A. Well, I don't know if it's one of the most important,      16      the City has made, and employees and retirees express
     17      but it -- all of them are important, the amount of         17      it to me in very -- sometimes very candid terms.
     18      money, the Grand Bargain, the -- the grantors have         18   Q. I see. What you're saying is you relied not only the
     19      given us $866 million we didn't have seven months ago,     19      existence of the legal obligation to pay but also
     20      so that's pretty important.                                20      testimonies you got from people that they had relied
     21                The human dimension certainly is something       21      on that?
     22      that you have to take into account. These are real         22   A. Yes.
     23      people with real consequences. So all of it's fairly       23   Q. And isn't it fair to say that this is another element
     24      important to me.                                           24      of the human dimension, which is the unfairness of
     25   Q. Okay. Now, you -- the third thing you talked about         25      cutting the pensions of people who relied on the

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      2        was the City's covenant, which I understood you to        2       City's covenant in making decisions about how to
      3        mean the City's promise that it would pay these people    3       allocate their work time?
      4        their pensions?                                           4   A. You could say that.
      5   A. Yes.                                                        5   Q. And then the last issue that you identified was the
      6   Q. And I take it from that the information you would have      6       invalidity of the COPs; do you remember that?
      7        relied upon was just the contract saying that folks       7   A. Yes.
      8        were entitled to these pensions?                          8   Q. And that was something that you factored into your
      9   A. No, you know, we -- I also had access -- you know, I        9       decision in terms of paying the COPs less than classes
     10      talked with some City employees, for instance, who         10       10 and 11, correct?
     11      currently work for the City, Gary Brown, who is a          11   A. Yes.
     12      retired Detroit police officer but is on a personal        12   Q. And I take it you relied upon legal analysis from your
     13      service contract here in the City now, PSC, and I          13       counsel about the potential invalidity of the COPs,
     14      talked to him about the historical commitments that        14       correct?
     15      the City has made, he's a lifetime resident, been here     15   A. Yes.
     16      a long time. Chief Craig, who was born here, for           16   Q. And I know that there had been a lawsuit filed prior
     17      instance, and his parents have been in the City, I         17       to the time of the current plan being filed, but I
     18      talked to him. I talked to individuals.                    18       assume that if I asked you questions about what your
     19                So it's not just an analysis of, say, raw        19       attorneys had advised you with respect to the
     20      data. I mean, I have communications with people on         20       invalidity of the COPs you'll invoke the
     21      staff here in the City who will ask me if they can         21       attorney-client privilege and decline to answer?
     22      come in and talk to me, and I'll listen to them.           22   A. Yes.
     23   Q. I guess what I meant here is one of the factors you        23   Q. Okay, so I hope we can stipulate that if I ask a bunch
     24        identified as -- as informing your judgment with         24       of questions about how the COPs analysis factored into
     25        respect to what to pay classes 10 and 11 versus COPs     25       the decision that the attorney-client privilege will


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